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                EXHIBIT E
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December 9, 2018
Jessica Rutherford, Esq.
Ferdinand IP, LLC
1221 Post Road East, Suite 302
Westport, Connecticut 06880

Re: ConfigAir v. Kurz, Case #3:17-cv-02026
    Written Discovery Deficiencies

Dear Jessica:

I am writing to address numerous deficiencies with the written discovery responses that you
served on November 30, 2018 on behalf of Defendant Henry Kurz (“Kurz”). Based on the
responses, it is clear that Kurz has not made even a good faith effort to respond to the written
discovery that Plaintiff ConfigAir LLC (“ConfigAir”) has served on him, and he must rectify
these issues immediately.

On November 2, 2018, ConfigAir served Kurz with its First Set of Interrogatories, its First Set of
Document Requests, and its First Set of Requests for Admission (collectively, the “Written
Discovery”). Responses to the Written Discovery were due on December 3, 2018. On
November 30, 2018, Kurz responded to the Written Discovery, but these responses are deficient
in countless ways.

First, Kurz served objections to the First Set of Interrogatories, but did not answer a single
interrogatory. Nor did he provide a date by which his answers would be produced. Therefore,
Kurz’s answers to the First Set of Interrogatories are overdue, and must be provided
immediately. ConfigAir further reserves the right to contest or address any objections that have
been made when Kurz’s verified answers are actually produced.

Second, Kurz served objections to the First Set of Documents, but has not produced any
documents in response. Nor has he provided any date by which Kurz would provide his
responsive documents. Given that Kurz did not provide any responsive documents along with
his Rule 26 Initial Disclosures, Kurz has not produced a single document in this case despite the
fact the case has been pending for over a year. Kurz’s responsive documents must be produced
immediately.

Moreover, based on Kurz’s objections to the Requests for Production, it appears that Kurz
improperly intends to ignore or evade a number of ConfigAir’s requests that seek documents
relevant to this litigation. These include:


Rebecca.Brazzano@ThompsonHine.com Fax: 212.344.6101 Phone: 212.908.3941                 4842-6806-7714
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      In Document Request 2, ConfigAir requests “documents relating to contracts that Kurz
       has entered into . . . from 2011 to the present,” and in Document Request 3, ConfigAir
       requests “documents relating to contracts that HKC has entered into with any person or
       company from October 2017 to present.” In response, you indicate that Kurz will only
       produce documents that “relate to mobile configuration software development or the Pre-
       LLC Software.” However, Kurz’s responses to these document requests should not be
       restricted in this manner as all contracts that Kurz entered into from 2011 to present and
       all contracts that HKC has entered into from October 2017 to present are relevant – at a
       minimum – as to whether Kurz was improperly competing with ConfigAir, has disclosed
       ConfigAir’s confidential information, and solicited ConfigAir’s customers or potential
       customers.

      In Document Request 4, ConfigAir requests “communications between Kurz and the
       ‘customers or potential custoemrs of Kurz’ [as] referenced in paragraph 153 of the
       Amended Third-Party Complaint from October 2017 to present. In response, Kurz does
       not indicate that he will produce any documents, but instead states that “ConfigAir has
       not yet disclosed the identity of the recipients of those communications” and that the
       “request is premature.” Neither of these responses are appropriate as ConfigAir is
       seeking information relating to Kurz’s own communications – information that he
       certainly has in his possession. As such, this is not premature and the information must
       be produced.

      In Document Request 5, ConfigAir seeks “communications between Kurz and any person
       or company relating to the Software,” and in response, even though ConfigAir defined
       the term “Software” in its document requests, Kurz states that he “will interpret the term
       ‘Software’ to mean the Pre-LLC Software (as that term is defined in the Counterclaim).”
       Kurz then states that he will produce documents that “relate to the Pre-LLC Software.”
       However, by responding in this way, Kurz is attempting to re-write the document request,
       and he must provide communications between Kurz and any person or company relating
       to the Software, as that term is defined in ConfigAir’s original document request.

      In Document Request 6, ConfigAir requests “documents currently in Kurz’s possession
       relating to the Software,” but Kurz again improperly attempts to re-define the definition
       of Software. Furthermore, Kurz does not indicate that he will produce any responsive
       documents and claims that these documents are already in Plaintiff’s possession, custody
       or control. However, that objection provides no excuse for not providing documents in
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       response to this request because ConfigAir has no idea what documents Kurz has in his
       possession. These documents must be produced.

      In Document Request 9, ConfigAir requests “communications between Kurz and any
       software developer working for ConfigAir or ConfigAir s.r.o. from October 2017 to the
       present.” In addition, in Document Request 10, ConfigAir requests “communications
       between Kurz and any employee of ConfigAir or ConfigAir s.r.o. from October 2017 to
       the present.” In response, Kurz does not indicate that he will provide any of these
       documents. These documents, though, must be produced as Kurz’s communications with
       ConfigAir and ConfigAir s.r.o. are relevant to – among other things – ConfigAir’s claim
       that Kurz violated his non-solicitation covenant in the Operating Agreement.

      In Document Request 12, ConfigAir requests “documents relating to copyrights that Kurz
       or HKC claims that they own with respect to the Software or any version or component
       of the Software.” In response, Kurz does not indicate that he will produce the documents,
       improperly attempts to re-write ConfigAir’s request by re-defining the term “Software,”
       and states that the “requested documents are already in Plaintiff’s possession, custody or
       control.” These documents are not in ConfigAir’s possession, and they are clearly
       relevant given Kurz’s and/or HKC’s claims that it owns the Software. These documents
       must be produced.

      In response to Document Request 14 (Kurz’s response is in Paragraph 13 because he
       incorrectly included two paragraphs under 12), Kurz again improperly attempts to
       redefine “Software,” which was clearly defined in ConfigAir’s document requests, with
       its own definition. This is improper and its responsive documents shall not be restricted
       for this reason.

      In Document Request 15, ConfigAir requests “documents relating to the Operating
       Agreement,” and in response, Kurz has not indicated that he will produce the requested
       documents. However, there is no issue more central to this case than the Operating
       Agreement, and Kurz must produce the requested documents.

      In Document Request 20, ConfigAir requests “documents relating to Kurz’s membership
       in Integrity GmbH.” In response, Kurz states that the request seeks irrelevant
       information. However, Integrity GmbH was connected to at least some of the software
       that Kurz contributed and turned over to ConfigAir. Furthermore, Kurz’s ownership
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       stake in Integrity GmbH may be a violation of his non-competition obligations owed to
       ConfigAir. Thus, this information is relevant, and it should be produced.

      In Document Request 24, ConfigAir requests “communications sent to or from the email
       address henry.kurz@hkc-group.de, henry.kurz@gourmaster.com, henry.kurz@integrity-
       gmbh.de or henry.lirz@web.de from October 2017 to the present.” Kurz does not
       indicate that he will produce these documents. However, he must do so as these email
       accounts were utilized or were likely utilized to solicit ConfigAir’s customers, solicit
       those engaged by ConfigAir, and otherwise make statements adverse to ConfigAir in
       violation of the Operating Agreement.

      In Document Request 30, ConfigAir requests “documents relating to the registration or
       operation of HKC,” and in Document Request 31, ConfigAir requests “documents
       relating to tax returns filed by HKC.” In response, Kurz states that this information is
       irrelevant. However, it is relevant because Kurz claims that HKC is a separate entity that
       he solely owns and operates and has raised this as a defense to the claims at issue in this
       case. As such, ConfigAir is entitled to this information to determine whether HKC is an
       actual legal entity, whether it is capable of owning a copyright, whether it has had any
       business activity like Kurz claims, and for other similar reasons. As such, this
       information must be produced.

      In Document Request 39, ConfigAir requests “documents relating to Kurz’s business
       activities relating to the GourMaster restaurant software.” In response, Kurz claims that
       this information is irrelevant, but this information is relevant given that these activities
       will likely explain Kurz’s actions at various times – many of which he raises in his own
       allegations against ConfigAir – and will involve potential ways of competition and
       solicitation that were prohibited under the Operating Agreement.

Given that Kurz has still failed to produce any documents, ConfigAir further reserves the right to
contest any response or objection raised in Kurz’s responses.

Kurz’s failure to provide ConfigAir with answers to ConfigAir’s interrogatories and with any
responsive documents has already prejudiced ConfigAir under the current case schedule as this
information is needed to prepare a damages analysis and to determine whether experts are
necessary – both of which must be completed by December 21, 2018 under the current case
schedule. Accordingly, given that that Kurz’s responses to the Written Discovery were due on
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December 3, 2018, ConfigAir demands that Kurz provide full and complete answers to
ConfigAir’s interrogatories and provide his responsive documents by no later than December 13,
2018. If Kurz fails to do so, ConfigAir will have no choice but to ask that the Court to compel
the requested information and documents and seek to recover all fees and costs that it incurs as a
result.

Sincerely,




Rebecca Brazzano

cc:    Anthony J. Hornbach, Esq.
